                     IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS

In re:                                             )       Case No. 19-22400
                                                   )       (Administratively Consolidated)
BREAD & BUTTER CONCEPTS, LLC,                      )
et al.,                                            )
                                                           Chapter 11
                                Debtors .1         )


               VERIFIED STATEMENT OF POLSINELLI PC PURSUANT TO
                 FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

         Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), Polsinelli PC (“Poslinelli”) hereby files this verified statement (the “Verified

Statement”) and in support thereof states as follows:

         1.     On November 9, 2019, the above captioned Debtors filed for Chapter 11

bankruptcy.

         2.     Polsinelli entered its appearance for Country Club Plaza JV, LLC (“CCP”) and

(ii) to MREM BOT Property LLC (“MREM” and collectively with CCP, the “Landlords”) on

November 12, 2019, by filing an objection to certain interim use of cash collateral requested by

the Debtors.

         3.     Nothing contained in this Verified Statement should be construed as a limitation

upon, or waiver of, either Landlords rights to assert, file and/or amend their claims in accordance

with applicable law or order from any court with competent jurisdiction and any orders entered

in these cases establishing procedures for filing proofs of claim.

         4.     Polsinelli reserves the right to amend or supplement this Verified Statement in

accordance with the requirements set forth in Bankruptcy Rule 2019. None of Polsinelli’s
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           TEXAZ CROSSROADS, LLC, dba Cherry Hall, Case No. 19-22401; TEXAZ TABLE RESTAURANT OF KS, LLC,
dba Urban Table, Case No. 19-22399; TEXAZ SOUTH PLAZA, LLC, dba Stock Hill, Case No. 19-22402; TEXAZ PLAZA
RESTAURANT, LLC, dba Gram & Dun, Case No. 19-22043 (collectively, the “Debtors”).




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attorneys in this case have any disclosable economic interests in the Debtors as defined in

Bankruptcy Rule 2019.

          5.    Polsinelli represents the Landlords in various other matters, including one against

a non-debtor affiliate of the Debtors. The Landlords have disclosed economic interests in that

they have presently are parties to leases of certain real property with various Debtors that are

guarantied by affiliates of the Debtors, the amounts of pre-petition arrearages for the leases are

being calculated to be filed by the proof of claim deadline set in this case. Any further claims

and economic interests will be determined after the Debtors decide to assume or reject such

Leases.

          6.    Upon information and belief, the following information is provided:

          Country Club Plaza JV, LLC
          c/o The Taubman Group
          200 East Long Lake Road, Suite 300
          Bloomfield Hills, Michigan 48304-2324
          LANDLORD FOR GRAM & DUNN

          MREM BOT Property LLC
          4220 Shawnee Mission Pkwy #200b
          Fairway, KS 66205
          LANDLORD FOR STOCKHILL




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         On this 18th day of November, 2019, pursuant to 28 U.S.C. § 1746, I declare under

penalty of perjury that the foregoing is true and correct.



                                                  Respectfully submitted,

                                                  POLSINELLI PC

                                                  By: /s/ Andrew J. Nazar
                                                      ANDREW J. NAZAR (KS #22381)
                                                      BRENDAN MCPHERSON (KS #23771)
                                                      900 West 48th Place, Suite 900
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                                                      bmcpherson@polsinelli.com

                                                  ATTORNEYS FOR
                                                  COUNTRY CLUB PLAZA JV, LLC and
                                                  MREM BOT PROPERTY LLC




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